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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                 PORTLAND DIVISION

                                                 Case No.: 3:12-cv-2281
THOMAS WEST,
                                                 COMPLAINT;
               Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
       vs.                                       ACT (15 U.S.C. § 1692a, et seq.);

DIVERSIFIED CONSULTANTS, INC.,                   DEMAND FOR JURY TRIAL

               Defendant.
                                  I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter “FDCPA”).

                                  II. JURISDICTION

       2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                    III. PARTIES

       3.      Plaintiff, Thomas West (“Plaintiff”), is a natural person residing in

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Multnomah County, Oregon.

       4.      Defendant, Diversified Consultants, Inc., (“Defendant”) is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                           IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways,

including the following.

       9.      In connection with collection of a debt, using language the natural

consequence of which was to abuse Plaintiff, including sexually harassing Plaintiff by

calling Plaintiff a “homo” during a collection call to Plaintiff on or about 10/22/2012 (§

1692d(2)).

       10.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       11.     Defendant intended to cause, by means of the actions detailed above,


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injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       12.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       13.     To the extent Defendant’s actions, detailed in paragraphs above, were

carried out by an employee of Defendant, that employee was acting within the scope of

his or her employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       15.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ 1692d.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       D.      Costs, disbursements and reasonable attorney’s fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

       E.      For such other and further relief as may be just and proper.


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    PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                 Dated this 17th day of December, 2012.


                                     By:_s/Joshua Trigsted_______
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